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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA                            2022 AUG 16 AH 11 : 23
UNITED STATES OF AMERICA,                                               4:22c~ ~       FICE     c,-· THE :LERK
                       Plaintiff,                                   INDICTMENT

       vs.                                                         21 U.S.C. § 846
                                                            21 U.S.C. § 84l(a)(l) & (b)(l)
                                                                   21 U.S.C. § 851
RUSSELL L. RUCKS, SR.,                                              18 U.S.C. § 2
                                                                   21 U.S.C. § 853
                       Defendant.


       The Grand Jury Charges:

                                             COUNT!

       Beginning on or about April 1, 2021, and continuing to on or about August 12, 2021 , in

the District of ebraska and elsewhere, Defendant RUSSELL L. RUCKS SR. did knowingly and

intentionally combine, conspire, confederate, and agree with other persons to distribute and

possess with intent to distribute 500 grams or more of a mixture or substance containing a

detectable amount of cocaine, its salts, optical and geometric isomers and salts of isomers, a

Schedule II controlled substance, and a detectable amount of a mixture or substance containing a

detectable amount of fentanyl, a Schedule II controlled substance, resulting in the serious bodily

injury of individuals, F.F. and M.H., and the death of an individual, V.R., in violation of Title 21,

United States Code, Sections 841(a)(l) and 841(b)(l).

       Before Defendant RUSSELL L. RUCKS, SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony, namely, a conviction for Possession

with Intent to Distribute Crack Cocaine under 21 U.S.C. § 841(a)(l), (b)(l) in the United States

District Court for the District of Nebraska (4:08cr-3 l l 5) for which he served more than 12

months of imprisonment and for which he was released from serving any term of imprisonment

related to that offense within 15 years of the commencement of the instant offense.
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       Before Defendant RUSSELL L. RUCKS , SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony, namely, a conviction for Distribution

or Delivery of Cocaine in violation of Neb. Rev. Stat. § 28-416(1) in the District Court for

Lancaster County, Nebraska (CR09-6340) for which he served more than 12 months of

imprisonment and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

       In violation of Title 21 , United States Code, Section 846; and Title 21 , United States

Code, Section 851.

                                            COUNT II

           On or about July 27, 2021, in the District of Nebraska, Defendant RUSSELL L.

RUCKS, SR. did knowingly and intentionally distribute a mixture or substance containing a

detectable amount of cocaine and fentanyl, Schedule II controlled substances, that resulted in the

bodily injury of an individual, M.H., and the death of an individual, V.R.

           Before Defendant RUSSELL L. RUCKS , SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony/fe lony drug offense, namely, a

conviction for Possession with Intent to Distribute Crack Cocaine under 21 U.S.C. § 841(a)(l),

(b )(1) in the United States District Court for the District of Nebraska (4:08cr-3115) for which he

served more than 12 months of imprisonment and for which he was released from serving any

term of imprisonment related to that offense within 15 years of the commencement of the instant

offense.

       Before Defendant RUSSELL L. RUCKS , SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony/felony drug offense, namely, a

conviction for Distribution or Delivery of Cocaine in violation of Neb. Rev. Stat. § 28-416(1) in

the District Court for Lancaster County, Nebraska (CR09-6340) for which he served more than
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12 months of imprisonment and for which he was released from serving any term of

imprisonment related to that offense within 15 years of the commencement of the instant offense.

          In violation of Title 21, United States Code, Section 841(a)(l); Title 21 , United States

Code, Section 841(b)(l); and Title 21, United States Code, Section 851.

                                           COUNT III

       On or about August 12, 2021 , in the District of Nebraska, Defendant RUSSELL L.

RUCKS , SR. did knowingly and intentionally possess with intent to distribute 500 grams or

more of a mixture or substance containing a detectable amount of cocaine, its salts, optical and

geometric isomers and salts of isomers, a Schedule II controlled substance.

       Before Defendant RUSSELL L. RUCKS, SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony, namely, a conviction for Possession

with Intent to Distribute Crack Cocaine under 21 U.S.C. § 841(a)(l), (b)(l) in the Federal

District Court for the District of Nebraska (4:08cr-3115) for which he served more than 12

months of imprisonment and for which he was released from serving any term of imprisonment

related to that offense within 15 years of the commencement of the instant offense.

       Before Defendant RUSSELL L. RUCKS, SR. committed the offense charged in this

Count, he had a final conviction for a serious drug felony, namely, a conviction for Distribution

or Delivery of Cocaine in violation of eb. Rev. Stat. § 28-416(1) in the District Court for

Lancaster County, Nebraska (CR09-6340) for which he served more than 12 months of

imprisonment and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

       In violation of Title 21, United States Code, Section 841(a)(l); Title 21 , United States

Code, Section 841(b)(l); and Title 18, United States Code, Section 2.
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                                    FORFEITURE ALLEGATION

        1.       The allegations contained in Counts I, II, and III of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title

21 , United States Code, Section 853.

        2.       Pursuant to Title 21, United States Code, Section 853, upon conviction of an

offense in violation of Title 21, United States Code, Section 846, and Title 21 , United States

Code, 841(a)(l), (b)(l), Defendant RUSSELL RUCKS , SR. shall forfeit to the United States of

America any property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result of such offense and any property used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission of, the offense. The property to be forfeited includes,

but is not limited to:

                 a.      A total of about $5,584 in United States currency seized from RUSSELL

                 RUCKS SR. on or about August 12, 2021.

        3.       If any of the property described above, as a result of any act or omission of

Defendant( s):

                 a.      cannot be located upon the exercise of due diligence;

                 b.      has been transferred or sold to, or deposited with, a third party;

                 c.      has been placed beyond the jurisdiction of the court;

                 d.      has been substantially diminished in value; or

                 e.      has been commingled with other property which cannot be divided

                 without difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).
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       In violation of Title 21, United States Code, Section 853.




                                                    A TRUE BILL.




                                                             V

                                                    FOREPERSON/




       The United States of America requests that trial ofthis case be held in Lincoln, Nebraska,
pursuant to the rules of this Court.




                                            By:
                                                     OHN J. SCHOETTLE, #IL6321461
                                                    Assistant U.S. Attorney
